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                           IN RE: DEEPWATER HORIZON LITIGATION
                                      MDL NO. 2179

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                                       October 18, 2013

The Honorable Judges of the U.S. Fifth Circuit Court of Appeals
600 South Maestri Place
New Orleans, Louisiana 70130

            Re: In re: DEEPWATER HORIZON
                Economic and Property Damages Settlement
                U.S. Fifth Cir. No. 13-30095

May It Please the Court:
        The Economic & Property Damages Settlement Class respectfully submits this letter brief
in response to the Court’s Order directing the parties to address the October 2, 2013 decision in
In re: Deepwater Horizon, No.13-30315 (5th Cir.) (“BEL Decision”) and “the implications of
that panel’s decision for this case.”1
       This appeal addresses one and only one issue: Did the District Court err in its order of
December 21, 2012 certifying a settlement class and approving the proposed settlement as fair,
reasonable and adequate?
        As described more fully herein, the BEL Decision concerns the calculation of damages
under one of nine categories of recoveries covered by the settlement. The modification to the
calculation of damages for some claimants utilizing cash basis accounting is a matter of
settlement administration that was raised by no objector at the time of the class settlement.
Accordingly, the BEL decision has no effect on the above-captioned appeal, and, as set forth in
the Plaintiffs’-Appellees’ prior briefing to this Honorable Court, the District Court’s Order and
Judgment approving the Economic & Property Damages Class Settlement should be affirmed.
        Efforts to infuse this appeal with BEL issues are procedurally improper. BP was an
active proponent of the settlement before the district court and filed no appeal from the
December 21, 2012 Order and Judgment that is before this Court. If BP believes that post-
approval implementation renders the continued operation of the settlement inequitable or legally
deficient, the correct procedural vehicle is a motion for relief from the judgment under Rule
60(b). Even in its current filing with this Court, BP can do no more than stake its position as

       1
           Doc. 00512396640.
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contingent on ongoing proceedings before the district court. There is simply no basis for
appellate review of the district court’s class settlement approval order based on administrative
matters that are still not yet ripe for review nearly one year later.
        Nor should objectors be heard to now claim that the BEL Decision somehow validates
unrelated issues raised below. For example, the Allpar appellants appear to have now made
common cause with BP, raising the BEL appellate issues for the first time on appeal. Not only
were these arguments not presented or preserved in the district court, but these appellants have
no standing to raise these objections here. At no point in any pleading or brief do the Allpar
appellants claim any injury to themselves from the way in which the BEL Compensation
Framework was interpreted or applied. Their complaint below was that the settlement treated
potential claimants on one side of the Sabine River differently from another. This is a given in
any settlement that draws a geographic line – someone will always be on the other side of the
line from someone else.2 But under the no-injury rule that Allpar now professes to advocate,
there was no basis in the record before the district court to afford them any relief.
        The BEL remand order directed the district court “to expeditiously craft a narrowly-
tailored injunction” in order to implement distinct procedures for the matching of expenses for
certain categories of claimants. One would search in vain for any reference in the record at the
time of settlement approval that even averted to this issue.
The Business Economic Loss (“BEL”) Dispute
        The subject of the BEL Decision in No. 13-30315 arose from BP’s contention that the
Court Supervised Settlement Program was misinterpreting the calculation of “Variable Profit”
within the Compensation Framework for Business Economic Loss (“BEL”) Claims, as set forth
in Settlement Agreement Exhibit 4C.
        BP took the position that the Compensation Framework required some “matching” of
expenses with respect to Cash-basis Claimants. The majority of the BEL Panel agreed that
Exhibit 4C was ambiguous on this point, and suggested that the District Court give consideration
to the matching of expenses on remand. See SLIP OPINION, pp.16-24.3 The Parties are currently
working with the District Court and the Claims Administrator on remand to implement the
Court’s decision.4 The Court, at the same time, rejected BP’s argument that the Settlement

        2
          BP’s own expert on class certification and settlement approval, Geoffrey Miller, makes this
point in his Supplemental Declaration [Rec. Doc. 7731-6] at ¶¶ 11-20.
        3
         The section on “Cash-basis Claimants” appears in Part I of Judge Clement’s opinion, which was
joined by Judge Southwick. See OPINION, p.37 (Southwick, concurring).
        4
           In particular, Judge Barbier expeditiously entered a stay on the processing and payment of
affected BEL Claims, (see ORDER [Rec. Doc. 11566] (Oct. 3, 2013)), held a Status Conference with the
Parties, and asked them to meet and confer further regarding any potential modifications to the injunction,
as well as a potential policy for the matching of expenses in accord with the BEL Decision, and, to the
extent necessary, a scheduling order regarding the development and submission of evidence that might be
relevant to the remand issue, culminating in an evidentiary hearing, if necessary, on December 2, 2013.
See MINUTE ENTRY [Rec. Doc. 11635] (Oct. 11, 2013).
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Program should “smooth” occasional “spikes” in revenue that might occur within the claimants’
“comparable” Benchmark and Compensation Periods. See SLIP OPINION, pp.24-25.5 The
Causation Framework, which is found in Exhibit 4B to the Settlement Agreement, (and is
discussed more fully infra), was not before the Court. See SLIP OPINION, pp.37-39.6
       The BEL Decision has no effect on the other eight claims categories, namely: (i) Seafood
Program Compensation, (ii) Individual Economic Loss, (iii) Subsistence, (iv) VoO Charter
Payments, (v) Vessel Physical Damage, (vi) Coastal Real Property Damage, (vii) Wetlands Real
Property Damage, or (viii) Real Property Sales Damage.

The Settlement Agreement Includes a Mechanism by which Causation Is Established by
Classmembers, According to the Objective Terms and Criteria Set Forth in Exhibit 4B

       The Deepwater Horizon Economic and Property Damages Settlement Agreement has two
aspects: First, it is a contractual agreement, between BP and participating classmembers.7
Secondly, it is, subject to Court approval, a proposed class settlement, which will be binding on
absent classmembers, and will provide BP with a class-wide release.8 The BEL appeal was a
matter of contract interpretation as between the parties and resolved a contested issue as to the




        5
           Is noted by Judge Clement: “BP’s primary concern seems to be the uneven cash flows of certain
types of businesses. We accept this possibility, but we see nothing in the agreement that provides a basis
for BP’s interpretation. Despite the potential existence of this kind of distortion, the parties may not have
considered it, agreed to ignore it, or failed for other reasons to provide clearly for this eventuality. The
district court was correct that BP’s proposed interpretation as not what the parties agreed.” OPINION, p.25.
        6
           “Exhibit 4B of the Settlement Agreement allowed causation to be supported simply by loss
calculations under Exhibit 4C rather than by requiring the claimant to prove that the loss had any factual
relationship to BP’s actions. No one on appeal is challenging Exhibit 4B.” SLIP OPINION, pp.38-39
(Southwick, concurring) (emphasis supplied); see also SLIP OPINION, p.37 (Southwick, concurring) (“I do
not join in the broader Rule 23 analysis that appears in Part II…. I am concerned that these observations
imply…an invalidity to the Settlement Agreement’s causation framework, which no one challenges. I
would not make the pronouncements that appear in Part II”) (emphasis supplied). See also, SLIP OPINION,
pp.60-61 (Dennis, concurring, in part, dissenting, in part).
        7
         See, e.g., SETTLEMENT AGREEMENT, Section 4.1 (establishment of Deepwater Horizon Court
Supervised Settlement Program); Section 4.4 (Process for Making Claims); Section 5.12 (establishment
of Settlement Trust); Section 21.2 (severability of any provisions found to be invalid, illegal or
unenforceable); Section 21.3 (the Claims Administrator will continue to process claims that have been
submitted to the Program in the event the class settlement is not fully and finally approved); Section 26.1
(regarding the binding effect of the Agreement on the Parties); Exhibit 26 (Individual Release).
        8
         See ORDER AND JUDGMENT [Doc 8139] (Dec. 21, 2012) ¶¶ 8-14. See also, e.g., Ehrheart v.
Verizon Wireless, 609 F.3d 590, 592-593 (3d Cir. 2010) (“The purpose of Rule 23(e) is to protect the
unnamed members of the class from unjust or unfair settlements”).
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calculation of losses for those parties included in the settlement. The present appeal relates to
the second issue,9 and asks whether the absent classmembers are well served by the settlement.

       Unaffected by the BEL Decision is the basic causation mechanism for the definition of
class membership, including for BEL Claimants.

      Section 5.3.2.3 sets forth the “Causation Requirements For Business Economic Loss
Claims” as follows:

                  Business Economic Loss Claimants, unless causation is presumed,
                  must establish that their loss was due to or resulting from the
                  Deepwater Horizon Incident. The causation requirements for such
                  Claims are set forth in Exhibit 4B.

        Exhibit 4B, in turn, sets forth the transparent and objective methodologies by which the
Parties agreed that BEL Claimants would “establish that their loss was due to or resulting from
the Deepwater Horizon Incident.” As explained by Judge Southwick:
                  The Settlement Agreement resolved two separate issues by, in effect,
                  combining them. One concerned loss causation, and the other loss
                  measurement. If a BEL claimant could prove an economic loss,
                  properly measured, that proof substituted for evidence of causation….
                  The agreement simplified the claims process by making proof of loss a
                  substitute for proof of factual causation.10

        Both Judge Clement and Judge Southwick note, in this regard, that “alternative causes of
losses were irrelevant if the financial figures supported that a loss occurred.” SLIP OPINION,
p.21.11

        Judge Southwick correctly observes that “Exhibit 4B of the Settlement Agreement
allowed causation to be supported by loss calculations under Exhibit 4C rather than by requiring
the claimant to prove that the loss had any factual relationship to BP’s actions.” SLIP OPINION,
pp.38-39 (Southwick, concurring). “Because the Rule 23 problem BP raises is confined to the
measurement of loss and not to the questions of standing of claimants who cannot show their
losses were caused by BP’s actions, I would not at this time suggest there is a fundamental Rule
23 defect in the Settlement Agreement.” SLIP OPINION, p.39 (Southwick, concurring) (emphasis
supplied).

        9
          Ehrheart, supra, 609 F.3d at 593 (“The requirement that a district court review and approve a
class action settlement before it binds all class members does not affect the binding nature of the parties’
underlying agreement”); citing, In re Syncor ERISA Litig., 516 F.3d 1095, 1100 (9th Cir.2008).
        10
             SLIP OPINION, pp.37-38 (Southwick, concurring).
        11
           See also, SLIP OPINION, pp.37-38 (Southwick, concurring) (“the parties agreed that Exhibit
4B’s causation framework to ignore alternative explanations for actual losses that occurred to claimants
during the proper time period”).
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Article III Standing is Satisfied under the Settlement Agreement

        The Third Circuit, in Ehrheart v. Verizon, discusses the “strong judicial policy in favor of
class action settlement” which “ties into the strong policy favoring the finality of judgments and
the termination of litigation.”12 In the BEL Decision, Judge Clement did not command a
majority for the view that a class action settlement must be limited to class members with
“colorable” claims to recovery. That position might have placed this Court in conflict with, for
example, the Third Circuit ruling in Ehrheart, which found enforceable an agreement to settle
ratified by the district court after a statutory amendment had eliminated the underlying cause of
action.

        Under the facts of this case, however, there is no conflict even were the Court to have
adopted Judge Clement’s more exacting standard. In this case, the Settlement Agreement itself
provides a mechanical way to establish the existence and extent of traceable injury by objectively
defining the loss that was “due to or resulting from the Deepwater Horizon Incident.”13 As
Judge Southwick observed, the Settlement Agreement “simplified the claims process by making
proof of loss a substitute for proof of factual causation.”14 In other words, the settlement
provides an objective measure of which claimants have colorable causes of action. What no
settlement can ever do is guarantee that each claimant would have prevailed were its individual
claim to be tried to judgment, a process that would vitiate the long-established judicial policy of
furtherance of settlement in favor of an endless series of individual trials.

        Where class certification is contested by the defendant, and the merits are to be further
litigated, an arguably over-inclusive class with members who may have suffered no injury might
be a legitimate concern.15 In this case, by contrast, BP agreed to the class definition and to the
specific injuries and losses it agreed to be sufficiently related to the oil spill to be deserving of
compensation. Indeed, this is why most courts have only examined Article III standing
requirements as applied to the claims of the Class Representatives – which have never been
seriously questioned in this case.

       12
            Ehrheart, supra, 609 F.3d at 595.
       13
          See, e.g., SETTLEMENT AGREEMENT, Section 5.3.1 (“The Economic Damage Claim Process,
Economic Damage Claim Frameworks, and other details for determining the Economic Damage
Compensation Amounts are set forth in the Exhibits to this Agreement, which are incorporated herein by
reference”); Section 5.3.2.1 (“The frameworks setting forth the documentation requirements governing
Business Economic Loss Claims, and the standards for evaluating such Claims, are set forth in Exhibits
4A-7 to the Agreement”); Section 5.3.2.3 (“The causation requirements for such Claims are set forth in
Exhibit 4B”). See generally, Exhibit 4B.
       14
            SLIP OPINION, pp.37-38 (Southwick, concurring).
       15
           This was the situation in Comcast Corp. v. Behrend, 133 S.Ct. 1426 (2013). Unlike BP,
Comcast was opposing class certification, and the Court was concerned about the possibility of a
judgment ultimately rendered in favor of some classmembers who had sustained no injury. BP, by
contrast, who agreed to both the substantive terms of the settlement as well as the extent of the class,
faces no similar Due Process concerns.
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      It should be noted, moreover, in this particular context, that the Oil Pollution Act of 1990
(“OPA”) was specifically intended by Congress to be applied broadly and expansively, to afford
compensation to businesses and individuals that were injured indirectly, as well as directly, in the
wake of an oil spill.16

        Yet, even assuming arguendo that Article III might enter into such a Rule 23 class
certification analysis, the standard is, at most, that a litigant merely have a “colorable” claim. See
SLIP OPINION, p.25; citing, Richardson v. United States, 468 U.S. 317, 326 n.6 (1984). The
settling parties anticipated such a standard under the terms of the settlement itself.

        BP, in this regard, while quoting from the definition of “Economic Damage” within the
Settlement Agreement, ignores the word “allegedly”: “Economic Damage shall mean loss of
profits, income and/or earnings arising in the Gulf Coast Areas or Specified Gulf Waters
allegedly arising out of, due to, resulting from, or relating in any way to, directly or indirectly,
the Deepwater Horizon Incident.” SETTLEMENT AGREEMENT, Section 38.55 (emphasis supplied).

       The following colloquy between BP’s Counsel and the Court during the oral argument
preceding the BEL Decision is instructive. Based on an unofficial transcript of the hearing:

        Judge Clement:           I have a question, sir. In your reply brief, you said the only issue in
                                 this appeal is the lost profits calculation and you were talking
                                 about how the variable profit is to be calculated…. My problem is
                                 I think the real issue in the case is causation and consideration. If
                                 you look at 4B where is BP’s consideration for agreeing to pay
                                 those claims without proving they were caused by the Oil Spill?
        BP Counsel:              This is a settlement, and with respect to the causation issue, that is
                                 not the issue that is before this court….
                                 The settlement agreement with respect to 4B as to causation
                                 provided a mechanism which allowed someone to come through
                                 the door to be then entitled to prove the amount of actual lost

        16
           As reflected in the district court’s opinion on motions to dismiss the economic class claims, 808
F.Supp.2d 943, 958-962, 965-966 (E.D.La. 2011), OPA governs all compensatory claims of economic
loss and property damage alleged to flow from the spill; was intended to expand liability for economic
loss well beyond the traditional limitations of maritime law; and embodies a unique statutory preference
for the systematic compromise of such claims. See 33 U.S.C. ¶¶ 2702(a), 2702(b)(2)(E), 2705(a), and
2713; see also, generally, David W. Robertson, The Oil Pollution Act's Provisions on Damages for
Economic Loss, 30 MISS.C.L.REV. 157, 158-160 (2011). As noted in prior submissions, OPA is a federal
statutory claim that presents common questions of law. In this particular context, moreover, it is
significant to note that the extent to which OPA expands a Responsible Party’s liability for indirect
economic losses is largely untested; which creates uncertainty, especially in a spill of the magnitude of
the Deepwater Horizon Incident: a common legal conundrum that incentivized both sides to painstakingly
negotiate a detailed, objective, self-contained causation and compensation system to discharge BP’s OPA
exposure, without thousands of individual trials. Indeed, OPA’s “intent is to encourage settlement and
reduce the need for litigation.” 808 F.Supp.2d at 959.
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                              profits. It was a compromise, which every settlement agreement is,
                              with respect to causation issues….

       Judge Clement:         …. Where is the legal connexity between the damage or an injury
                              and the ability to make BP pay?

       BP Counsel:            It was a part of a compromise. There’s going to be tens of
                              thousands –

       Judge Clement:         Where’s the consideration?

       BP Counsel:            The consideration is the consideration of the settlement class as a
                              whole….

       Judge Dennis:          A major consideration is no one can bring suit against you on the
                              oil spill outside of this class action which you have now settled.

       BP Counsel:            Exactly, your honor.

       Judge Clement:         They couldn’t bring suit against you anyway if it wasn’t caused
                              by –

       BP Counsel:            They could bring suit. They’d have to prove causation. They could
                              sue, and this is a compromise of tens of thousands of claims. But
                              the important thing, and the issue that were’ talking about here,
                              is, assuming causation, assuming that a claimant gets through the
                              door and is now entitled to prove lost profits; we then come to
                              what everyone agrees in this case. The Appellees say this on page
                              27 of their brief: This appeal presents a straight forward question
                              of contract interpretation.

         There may be many cases in which it is arguably unclear whether the plaintiff could
establish an injury fairly traceable to the defendant’s conduct. BP was free, within the context of
Rule 23 or otherwise, to develop and apply a common and uniform set of criteria to resolve the
question of whether the spill caused an economic injury. See, e.g., In re AIG Securities
Litigation, 689 F.3d 229, 243 (2d Cir. 2012) (“Defendants in class action suits are entitled to
settle claims pending against them on a class-wide basis even if a court believes that those claims
may be meritless”); Sullivan v. DB Investments, 667 F.3d 273, 310 (3d Cir. 2011) (en banc), cert.
denied, 132 S.Ct. 1876 (2012), rehearing denied, 132 S.Ct. 2451 (2012) (“were we to mandate
that a class include only those alleging ‘colorable’ claims, we would effectively rule out the
ability of a defendant to achieve ‘global peace’ by obtaining releases from all those who might
wish to assert claims, meritorious or not. We need not take judicial notice of the fact that
plaintiffs with non-viable claims do nonetheless commence legal action”); Kohen v. Pacific
Investment Management Co., 571 F.3d 672, 676 (7th Cir. 2009) (Posner, J.) (“as long as one
member of a certified class has a plausible claim to have suffered damages, the requirement of
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standing is satisfied”); Denney v. Deutsche Bank AG, 443 F.3d 253, 263 (2d Cir. 2006) (“We do
not require that each member of a class submit evidence of personal standing”); see also,
Ehrheart v. Verizon, supra (class settlement did not become “moot” when legislation eliminated
the statutory cause of action that formed the basis of the settlement).17
        Indeed, BP’s own class certification and settlement approval expert confirmed that “the
parties’ ability to compromise disputed claims does not cease with respect to claims to which the
defendant believes it has a strong defense.” SUPP. DECLARATION OF GEOFFREY MILLER [Rec.
Doc. 7731-6] at ¶9; citing, Sullivan, supra, 667 F.3d at 305.18

BP Should Be Estopped from Taking A Position Against the Full and Final Approval of the
Settlement
         There is a single Settlement Agreement. The agreement has not changed and remains
legally enforceable as against the contracting parties until and unless BP obtains an order of
relief from judgment. To the extent that there may be a dispute between the Parties regarding the
correct interpretation and application of the Settlement Agreement, the agreement includes a
mechanism for resolving that dispute19 – just as the “matching” of expenses dispute has been
resolved by this Honorable Court and is now being put into place. The Settlement Agreement –
as written, executed, supported, and approved – was either appropriate for certification and final
approval under Rule 23 on December 21, 2012 when the district court ruled, or it wasn’t.
        BP submitted hundreds, if not thousands, of pages of pleadings, declarations, proposed
findings and briefs in support of the approval of the class settlement. In particular, BP submitted
a joint declaration from Professor Coffee and a separate declaration from its own class expert,
Professor Miller, in support of class certification and settlement approval under Rule 23.
       In addition to the statements of BP Counsel to the BEL Panel quoted supra, BP has
submitted numerous filings and made other representations to the Court acknowledging valid
consideration for the Settlement Agreement and supporting the causation framework as set forth
in Exhibit 4B.20

        17
            See also, e.g., Butler v. Sears Roebuck & Co., 727 F.3d 796, 801 (7th Cir. 2013) (reaffirming
certification following remand in light of Comcast) (“If the issues of liability are genuinely common
issues, and the damages of individual class members can be readily determined in individual hearings, in
settlement negotiations, or by creation of subclasses, the fact that damages are not identical across all
class members should not preclude class certification”) (emphasis supplied).
        18
          See also, MILLER SUPP. DECLARATION, at ¶15; citing, Sullivan, supra, 667 F.3d at 305, and,
Kohen, supra, 571 F.3d at 677 (“[A] class will often include persons who have not been injured by the
defendant’s conduct; indeed this is almost inevitable….”).
        19
             See SETTLEMENT AGREEMENT, Section 4.3.4; see also, Sections 6.6 and 18.1.
        20
          See, e.g., COMPLAINT, BP v. Deepwater Horizon Court Supervised Settlement Program, No.13-
492 (March 15, 2013) ¶65 (“The Settlement Agreement is a valid contract meeting all required elements:
offer, acceptance, and consideration”); BP’S MEMORANDUM IN SUPPORT OF MOTION FOR FINAL
APPROVAL [Doc. 7114-1] (Aug. 13, 2012), p.33 (“[O]nce a business meets the causation requirements,
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         BP also has contractual obligations to support and defend the class settlement in the
district court and on appeal, from inception to finality.21

        Hence, BP should now be estopped from taking the position that the Settlement
Agreement either includes some additional subjective causation analysis or does not comply with
the requirements of Rule 23.


BP’s Position Demonstrates the Central Fallacy in the Objector Appellants’ Complaint
        Because the settlement is uncapped, the inclusion of the types of claims that BP and/or
the Objector Appellants are now complaining about cannot and do not affect the fairness,
reasonableness or adequacy of the settlement with respect to the Objectors or other members of
the class.
       Indeed, the Objector Appellants’ bald assertion that BP imposed some target limit or
“cap” (even if unknown to Class Counsel during the negotiations) that somehow prevented Class


for purposes of quantifying compensation, all revenue and variable profit declines during the claimant-
selected compensation period are presumed to be caused by the spill, with no analysis required to
determine whether the declines might have been due, at least in part, to other causes.”); JOINT PROPOSED
FINDINGS OF FACT AND CONCLUSIONS OF LAW [Doc. 7945] (Nov. 19, 2012), p.45 ¶126 (“Once the
causation tests are satisfied, all revenue and variable profit declines during the Compensation Period are
presumed to be caused entirely by the Spill, with no analysis of whether such declines were also traceable
to other factors unrelated to the Spill”); E-MAIL RULING FROM JUDGE BARBIER [Doc 8963-75] (Dec. 12,
2012) (confirming, after BP Counsel appeared in Court on the issue, that “Counsel for BP and the PSC
agree with the Claims Administrator's objective analysis of causation with respect to his evaluation of
economic damage claims, as previously set forth by Mr. Juneau in paragraph 2 of his October 10, 2012
policy announcement”); see also, SLIP OPINION, p.21 (“BP did agree that alternative causes of losses were
irrelevant if the financial figures supported that a loss occurred”); SLIP OPINION, pp.37-38 (Southwick,
concurring) (“the parties agreed that Exhibit 4B’s causation framework to ignore alternative explanations
for actual losses that occurred to claimants during the proper time period”).
        21
            See SETTLEMENT AGREEMENT, Section 16.1 (“The Parties agree to take all actions necessary
to obtain final approval of this Agreement and the entry of a Final Order and Judgment, and dismissing all
Released Claims against Released Parties with prejudice”); Section 17.1 (“The Parties agree to support
the final approval and implementation of this Agreement and defend it against objections, appeal, or
collateral attack. Neither the Parties nor their Counsel, directly or indirectly, will encourage any person to
object to the Economic and Property Damages Settlement”); see also, Section 9.1 (“Communications by
or on behalf of the Parties and their respective Counsel regarding this Agreement with the public and the
media shall be made in good faith, shall be consistent with the Parties’ agreement to take all actions
reasonably necessary for preliminary and final approval of the Settlement”); see also, e.g.,F.W.F. Inc. v.
Detroit Diesel Corp., 494 F.Supp.2d 1342, 1359 (S.D.Fla. 2007), aff’d, 308 F.App’x 389 (11th Cir. 2009)
(“Every maritime contract imposes an obligation of good faith and fair dealing between the parties in its
performance and enforcement…. The duty embraces, among other things, an implied obligation that
neither party shall do anything to injure or destroy the right of the other party to receive the benefits of the
agreement”).
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Counsel from adequately representing all classmembers in the negotiations is directly belied by
BP’s current position. BP is not suggesting that the Court reduce the compensation to BEL
claimants and provide it to Objectors or other, more allegedly “deserving” classmembers. BP
simply wants to keep the money for itself.

        Regardless of the effect of the BEL remand on claims administration, the issue before
this Court remains the same. The processing and payment of BEL claims has not in any way
affected the fair, reasonable and adequate compensation paid under the Settlement Agreement’s
transparent and objective criteria to any Objector or any other member of the class.

        The uncontradicted evidence in the record, and the history and experience of claims in
the Settlement Program, establish the fact that each claim was advanced fully, at arms’ length, by
a broad representation of experienced and highly motivated counsel. There is absolutely no
evidence of any “collusion” or trade-offs by Class Counsel.

        The BEL Decision, if anything, supports further the District Court’s findings on adequacy
of representation under Rule 23(a), as well as the adequacy of the settlement to the classmembers
under Rule 23(e).

                                           Conclusion

       For the above and foregoing reasons, based on the evidence in the record, for the reasons
stated by the District Court, and for the reasons stated in the Plaintiff-Appellees’ Brief, the
Judgment and Order approving the Economic & Property Damages Class Settlement should be
affirmed.



                                                    Respectfully submitted,

                                                    James Parkerson Roy
                                                    Stephen J. Herman
                                                    Co-Lead Class Counsel

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